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 ""AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 1




          UNITED STATES OF AMERICA                                       Judgment in a Criminal Case                              ;.   iDEP CLERK
                              v.                                         (For Revocation of Probalion or Supervised Release)
              BRAD WILSOI\J KELLEY

                                                                         Case No. 4:03cr00201-02 JMM
                                                                         USM No. 23066-009
                                                                          Latrece Gray
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            General, Std & Special         of the term of supervision.
D   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number              Nature of Violation                                                               Violation Ended
General                            Failure to refrain from use of a controlled substance                        01/03/2011

General                            Failure to refrain from committing another crime                             12/02/2010
Special                            Failure to complete residential re-entry center                              11/24/2010
Standard 2                         Failure to submit truthful monthly reports                                   12/01/2010
       The defendant is sentenced as provided in pages 2 through             2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes 111
economIC clfcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1983                      03/23/2011
                                                                                            Date of Imposilion of Judgment
Defendant's Year of Birth:           1983

City and State of Defendant's Residence:                                                          Signature of Judge
Elkins, Arkansas
                                                                         James M. Moody                                US District Judge
                                                                                               Name and Title of Judge

                                                                         03/23/2011
                                                                                                         Date
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  AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheel2- Imprisonment

                                                                                                    Judgment -   Page   2   of    2
  DEFENDANT: BRAD WILSON KELLEY
  CASE NUMBER: 4:03cr00201-02 ,IMM


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
NINE (9) MONTHS




       'i/ The court makes the following recommendations to the Bureau of Prisons;
The defendant shall participate in nonresidential substance abuse treatment program.
The defendant shall serve his term of imprisonment at Forrest City, Arkansas.



       'i/ The defendant is remanded to the custody of the United States Marshal.
       [J   The defendant shall surrender to the United States Marshal for this district:
            D    at    _________ D                         a.m.      D     p.m.    on
            D    as notified by the United States Marshal.

       D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D    as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
